         Case 2:16-cr-00092-DAD Document 119 Filed 02/05/18 Page 1 of 3



 1
     CHRISTOPHER J. CANNON, State Bar No. 88034
     Sugarman & Cannon
 2   737 Tehama St., No. 3
     San Francisco, CA 94103
 3
     Telephone: 415-362-6252
 4   Facsimile: 415-362-6431
 5
     Attorney for Defendant WAYNE YORK
 6

 7
                               UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,  ) Case No. CR 2:16-0092 JAM
                                )
11
             Plaintiff,         ) STIPULATION AND ORDER
12                              ) CONTINUING STATUS
             v.                 ) CONFERENCE AND EXCLUDING
13
                                ) TIME
14   MARCO ANTONIO RAMIREZ ZUNO )
     et al.,                    ) Date: February 6, 2018
15                              ) Time: 9:15 a.m.
16           Defendants.        ) Judge: Hon. John A. Mendez

17

18
            It is hereby stipulated and agreed between Plaintiff, United States of America, and
19

20   defendants Wayne York, and Juan Carlos Montalbo, that because counsel for Montalbo is

21   in trial and February 27, 2018 is the next date when all counsel are available to appear, the
22
     status conference scheduled for February 6, 2018, may be continued to February 27, 2018,
23

24
     at 9:15 a.m.

25          All counsel agree that the status conference should be continued to February 27,
26
     2018, and ask the Court to order time excluded under the Speedy Trial Act through that
27
     date in order to afford necessary time for effective preparation. The parties agree that the
28


     STIPULATION AND (PROPOSED) ORDER
     TO CONTINUE STATUS CONERENCE                                                         1
     CR 16-0092-JAM
         Case 2:16-cr-00092-DAD Document 119 Filed 02/05/18 Page 2 of 3



 1
     interests of justice to be served by a continuance outweigh the best interests of the

 2   defendants and the public in a speedy trial, and ask the Court to order time excluded
 3
     pursuant to 18 U.S.C. § 3161(h)(7)(A) and (b)(iv), through February 27, 2018.
 4

 5

 6   Dated: February 2, 2018                           Respectfully submitted,
 7
                                                       /s/ Christopher Cannon
 8                                                     CHRISTOPHER J. CANNON
                                                       Counsel for Wayne York, II
 9

10
     Dated: February 2, 2018
11

12                                                     /s/ C. Cannon for T. Zindel
                                                       TIMOTHY ZINDEL
13
                                                       Assistant Federal Defender
14                                                     Counsel for Juan Carlos Montalbo
15

16   Dated: February 2, 2018

17                                                     /s/ C. Cannon for M. Morris
18                                                     MATTHEW G. MORRIS
                                                       Assistant United States Attorney
19

20

21

22
                                               ORDER
23

24
            The status conference is continued to February 27, 2018, at 9:15 a.m.
25

26          /
27
            /
28


     STIPULATION AND (PROPOSED) ORDER
     TO CONTINUE STATUS CONERENCE                                                            2
     CR 16-0092-JAM
         Case 2:16-cr-00092-DAD Document 119 Filed 02/05/18 Page 3 of 3



 1
            /

 2

 3
            The Court finds that the ends of justice served by granting a continuance outweigh
 4
     the best interests of the defendants and the public in a speedy trial, and ask the Court to
 5

 6   order time excluded pursuant to 18 U.S.C. § 3161(h)(7)(A) and (b)(iv).
 7
            IT IS SO ORDERED.
 8
     Dated: February 2, 2018                    /s/ John A. Mendez______
 9
                                                HON. JOHN A. MENDEZ
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     STIPULATION AND (PROPOSED) ORDER
     TO CONTINUE STATUS CONERENCE                                                          3
     CR 16-0092-JAM
